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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


KEITH ROSE,                                      )
                                                 )
               Plaintiff,                        )
                                                 )
       V.                                        )         No. 4:18-CV-1568 RLW
                                                 )
CITY OF ST. LOUIS, MISSOURI, et al.,             )
                                                 )
               Defendants.                       )

                                             ORDER

       This matter is before the Court on the parties' joint motion to modify the Case Management

Order ("CMO").      (ECF No. 98) The parties request the Court extend the deadline to join

additional parties and amend pleadings by 48 days, until October 15, 2020. For the following

reasons, the Court will grant the motion only in part.

       Next month this case will have been pending two years. From the record, it would appear

the parties have spent most of this time attempting to uncover the identify of the John Doe

defendants. About a month ago, on July 24, 2020, the parties came to the Court requesting

modification of the CMO. The Court granted the motion, in part, in light of how long this case

had been pending.     See Second Amended CMO, ECF No. 97.           The Court extended all the

deadlines in the CMO, although not to the extent the parties would have liked. But notably, the

parties requested that the deadline to join additional parties and amend pleadings be extended to

August 28, 2020, and the Court granted that request.

       The Court ordered in the Second Amended CMO that the CMO would not be further

modified "absent exceptional circumstances." Id. (emphasis in original). The parties state in

their current motion that they have been working together this past month to identify John Doe
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defendants, and there is additional work to do. The Court commends the parties for their efforts,

but they have not provided the Court with factual support showing that "exceptional

circumstances" exist that would require the extension. The term "expectational circumstances"

is more than just words, and the Court will not grant such a long extension without a showing that

something out of the ordinary or unexpected occurred. This litigation needs to move forward.

       That being said, the Court is aware that some of the John Doe defendants have been

identified since the last Complaint was filed, and it is Plaintiffs intention to add these individuals

as named defendants. The deadline to join additional parties and amend the pleadings expires

today. The Court, therefore, will extend this deadline by one week.

       Accordingly,

       IT IS HEREBY ORDERED that the parties' joint motion to amend the Case Management

Order is GRANTED, in part. All motions for joinder of additional parties or amendment of

pleadings shall be filed no later than September 4, 2020. In all other respects the motion is

DENIED.      [ECF No. 98]




                                                       RONNIE L. WHITE
                                                       UNITED STATES DISTRICT JUDGE


Dated this   ~y         of August, 2020.
